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MINUTE ENTRY
FALLON, J.
JANUARY 19, 2023

                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                      CRIMINAL ACTION

VERSUS                                        NO.   19-219

LUCINDA THOMAS                                SECTION:   L (2)

BEFORE JUDGE ELDON E. FALLON
Case Manager: Dean Oser
Court Reporter: Cathy Pepper

Appearances: AUSA Brian Klebba for government
             Michael Riehlmann, Esq., for the defendant
             Probation Officer

SENTENCING AS TO COUNT ONE OF THE SUPERSEDING INDICTMENT:

The defendant is present.

There were no objections to the PSI by the Government and the
defendant’s objections to the PSI were addressed by the Court.

Sentence: See Judgment in a Criminal Case.

Upon oral motion of the Government, all remaining counts were
dismissed.




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